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To date, the U.S. Treasury Department has designated 13 Al-Haramain offices
worldwide:

e Al Haramain ~ Afghanistan — June 2, 2004

e Al Haramain — Albania — June 2, 2004

e A! Haramain — Bangladesh — June 2, 2004

Al Haramain Islamic Foundation (Vazir a/k/a) — Bosnia — March 11, 2002

Al- Haramain Ethiopia — June 2, 2004

e Al Haramain Islamic Foundation ~ Indonesia — January 22, 2004

e Al Haramain Islamic Foundation — Kenya and Tanzania — January 22, 2004

e Al Haramain — The Netherlands — June 2, 2004

e Al] Haramain Islamic Foundation — Pakistan —- March 11, 2002

e Al Haramain Islamic Foundation — Somalia — March 11, 2002

e Al Haramain Islamic Foundation — Union of Comoros/Comoros Islands —
September 9, 2004

e Al Haramain Islamic Foundation — United States —- September 9, 2004

Al Haramain — Afghanistan
June 2, 2004

Official Announcement — http://www.treas.gov/press/releases/js1703.htm

In Afghanistan, prior to the removal of the Taliban from power, AHF supported
the cause of Jihad and was linked to the UBL financed Makhtab al-Khidemat
(MK), a pre-cursor organization of al Qaida and a Specially Designated Global
Terrorist pursuant to the authorities of E.O. 13224.

Following the September 11, 2001 terrorist attacks, activities supporting terrorism
in Afghanistan continued. In 2002, activities included involvement with a group
of persons trained to attack foreigners in Afghanistan. A journalist suspected of
meeting with al Qaida and Taliban members in Afghanistan was reportedly
transferring funds on behalf of the al Qaida-affiliated AHF and forwarding
videotapes from al Qaida leaders to an Arabic language TV network for
broadcast.

Al Haramain — Albania
June 2, 2004

Official Announcement — http://www.treas.gov/press/releases/js1703 htm

The U.S. has information that indicates UBL may have financed the establishment of
AHF in Albania, which has been used as cover for terrorist activity in Albania and in
Europe. In late 2000, a close associate of a UBL operative moved to Albania and was
running an unnamed AHF subsidiary. In 1998, the head of Egyptian Islamic Jihad in

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Albania was reportedly also a financial official for AHF in Albania. This individual,
Ahmed Ibrahim al-Nagar, was reportedly extradited from Albania to Egypt in 1998. At
his trial in Egypt, al-Nager reportedly voiced his support for UBL and al Qaida’s August
1998 terrorist attacks against the U.S. embassies in Kenya and Tanzania.

Salih Tivari, a senior official of the moderate Albanian Muslim community, was
murdered in January 2002. Ermir Gyinishi, who had been supported by AHF, was
detained in connection with the murder, but no charges were filed; he was later released
by Albanian authorities. Just prior to being murdered, Tivari informed the AHF -affiliated
Gjinishi that he intended to reduce "foreign Islamic influence" in the Albanian Muslim

community.

Prior to his murder, Tivari controlled finances, personnel decisions, and donations within
the Albanian Muslim community. This provided him significant power, enabling him to
survive several attempts by extremists trained overseas to replace him or usurp his power.

As of late 2002, AHF was reportedly withdrawing virtually all funding to the Albanian
Muslim community. AHF in Albania was to send all proceeds from the sale of some
property to the AHF headquarters in Saudi Arabia. As of late 2003, AHF was paying for,
through a HAMAS member with close ties to AHF in Albania, security personnel to
guard the AHF building in Albania, which had been shut down earlier in 2003.

Al Haramain — Bangladesh
June 2, 2004

Official Announcement — http://www.treas.gov/press/releases/js1703.htm

Information available to the U.S. shows that a senior AHF official deployed a
Bangladeshi national to conduct surveillance on U.S. consulates in India for potential
terrorist attacks. The Bangladeshi national was arrested in early 1999 in India, reportedly
carrying four pounds of explosives and five detonators. The terrorist suspect told police
that he intended to attack U.S. diplomatic missions in India. The suspect reportedly
confessed to training in al Qaida terrorist camps in Afghanistan, where he met personally
with Usama bin Laden in 1994. The suspect first heard of plans for these attacks at the

AHF office in Bangladesh.

Al Haramain Islamic Foundation — Bosnia (a.k.a. Vazir)
March 11, 2002

Official Announcement — http://www.treas.gov/press/releases/po1086.htm

Today we are blocking the accounts of the Somalia and Bosnia-Herzegovina branches of
the Saudi Arabia-based Al-Haramain Islamic Foundation. While the Saudi headquarters
for this private charitable entity is dedicated to promoting Islamic teachings, we and our
Saudi Arabian allies have determined that the Somalia and Bosnia-Herzegovina branches
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of Al-Haramain have been engaged in supporting terrorist activities and terrorist
organizations such as al-Qaida, AIAI (al-Itihaad al-Islamiya), and others.

Background — http://www.treas.gov/offices/enforcement/key-
issues/protecting/charities_execorder_13224-a.shtml#ahpak

The Bosnia office of Al Haramain is linked to Al-Gama’at al-Islamiyya, an Egyptian
terrorist group (designated under Executive Order 13224 on October 31, 2001) that was a
signatory to UBL’s February 23, 1998 fatwa against the United States. After the Bosnia
branch of Al Haramain was designated in March 2002, Al Haramain officials closed its
Bosnian operations. Officials in Bosnia then persuaded senior Al Haramain officials to
reopen the organization under a different name in Travnik, Bosnia. The new non-
governmental organization, Vazir, was founded in May 2003 and established its
headquarters in a business space formerly used by Al Haramain. The Ministry of Justice
and Administration for the Central Bosnian canton registered Vazir on June 11, 2003, as
an association for sport, culture, and education. The office opened under the name Vazir
in early August 2003. The original designation of the Bosnian branch of Al Haramain
was amended to add the aka, “Vazir,” resulting in the formal designation of Vazir on

December 22, 2003.

Al Haramain — Ethiopia
June 2, 2004

Official Announcement — http://www.treas.gov/press/releases/js1703 htm

Information available to the U.S. shows that AHF in Ethiopia has provided support to Al-
Ittihad Al-Islamiya (AIAI). In Ethiopia, AIAI has engaged in attacks against Ethiopian
defense forces. AJAI has been designated both by the U.S. Government and by the UN
1267 Sanctions Committee.

Ethiopia is one of the countries where AHF’s website states that they have operations, but
there does not appear to be a formal branch office. As part of our efforts to designate this
branch, we are asking that action be taken to ensure that individuals cannot use the name
of AHF or act under its auspices within, or in connection with services provided in,

Ethiopia.

Al Haramain Islamic Foundation — Indonesia (a.k.a. Yayasan Al-Manahil-

Indonesia)
January 22, 2004

Official Announcement — http://www.treas.gov/press/releases/js1108.htm

e In 2002, money purportedly donated by AHF for humanitarian purposes to non-profit
organizations in Indonesia was possibly diverted for weapons procurement, with the

full knowledge of AHF in Indonesia.
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e Using a variety of means, AHF has provided financial support to al-Qaida operatives
in Indonesia and to Jemaah Islamiyah (JI). According to a senior al-Qaida official
apprehended in Southeast Asia, Omar al-Farug, AHF was one of the primary sources
of funding for al-Qaida network activities in the region. The U.S. has designated JI,
and the 1267 Committee has included it on its list, because of its ties to al-Qaida. JI
has committed a series of terrorist attacks, including the bombing of a nightclub in
Bali on October 12, 2002 that killed 202 and wounded over 300.

Al Haramain Islamic Foundation — Kenya and Tanzania
January 22, 2004

Official Announcement - http://www.treas.gov/press/releases/js1108.htm

¢ Information available to the US shows that AHF offices in Kenya and Tanzania
provide support, or act for or on behalf of AIA and Al-Qaida. AIAI shares
ideological, financial and training links with al-Qaida and financial links with several
NGOs and companies, including AHF, which is used to transfer funds. AIAI also has
invested in the "legitimate" business activities of AHF.

¢ As early as 1997, U.S. and other friendly authorities were informed that the Kenyan
branch of AHF was involved in plotting terrorist attacks against Americans. As a
result, a number of individuals connected to AHF in Kenya were arrested and later
deported by Kenyan authorities.

« In August 1997, an AHF employee indicated that the planned attack against the U.S.
Embassy in Nairobi would be a suicide bombing carried out by crashing a vehicle
into the gate at the Embassy. A wealthy AHF official outside East Africa agreed to
provide the necessary funds. Information available to the U.S. shows that AHF was
used as a cover for another organization whose priorities include dislike for the U.S.
Government’s alleged anti-Muslim stance and purposed U.S. support for Christian
movements fighting Islamic countries.

e Also in 1997, AHF senior activities in Nairobi decided to alter their (then) previous
plans to bomb the U.S. Embassy in Nairobi and instead sought to attempt the
assassination of U.S. citizens. During this time period, an AHF official indicated he
had obtained five hand grenades and seven "bazookas’ from a source in Somalia.
According to information available to the U.S., these weapons were to be used in a
possible assassination attempt against a U.S. official.

e Information available to the U.S. shows that a former Tanzanian AHF Director was
believed to be associated with UBL and was responsible for making preparations for
the advance party that planned the August 7, 1998, bombings of the U.S. Embassies
in Dar Es Salaam, Tanzania, and Nairobi, Kenya. As a result of these attacks, 224
people were killed.

e Shortly before the dual-Embassy bombing attacks in Kenya and Tanzania, a former
AHF official in Tanzania met with another conspirator to the attacks and cautioned
the individual against disclosing knowledge of preparations for the attacks. Around
the same time, four individuals led by an AHF official were arrested in Europe. At
that time, they admitted maintaining close ties with EIJ and Gamma Islamiyah.
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e Wadih el-Hage, a leader of the East African al-Qaida cell and personal secretary to
UBL, visited the Kenya offices of AHF before thel1998 dual-embassy attacks.
Searches conducted by authorities revealed that el-Hage possessed contact
information for a senior AHF official who was head of AHF's Africa Committee, the
overseeing authority for AHF's offices in Kenya and Tanzania.

e In early 2003, individuals affiliated with AHF in Tanzania discussed the status of
plans for an attack against several hotels in Zanzibar. The scheduled attacks did not
take place due to increased security by local authorities, but planning for the attacks
remained active.

¢ Information made available to the U.S. as shows that AHF offices in Kenya and
Tanzania provide support, or act for or on behalf of al-Qaida and AIM.

Al Haramain — The Netherlands (AKA. Stichting Al Haramain Humanitarian Aid)
June 2, 2004

Official Announcement — http://www.treas.gov/press/releases/js1703.htm

Since 2001, Dutch officials have confirmed that the Al Haramain Humanitarian Aid
Foundation located in Amsterdam is part of the larger AHF network and that Al-Aqil,
also being designated today, is chairman of this foundation’s board of directors. As noted
elsewhere in this document, AHF was the founder and leader of AHF and was
responsible for all of its activities, including its support of terrorism.

Al Haramain Islamic Foundation — Pakistan
March 11, 2002

Official Announcement - http://www.treas.gov/press/releases/js1 108. htm

e Sometime in 2000, an AHF representative in Karachi, Pakistan met with Zelinkhan
Yandarbiev. The U.S. has designated Yandarbiev, and thel1267 Committee has
included him on its list because of his connections to al-Qaida. The AHF
representative and Yandarbiev reportedly resolved the issue of delivery to Chechnya
of Zenit missiles, Sting anti-aircraft missiles, and hand-held anti-tank weapons.

e Before the removal of the Taliban from power in Afghanistan, the AHF in Pakistan
supported the Taliban and other groups. It was linked to the UBL-financed and
designated terrorist organization, Makhtab al-Khidemat (MK). In one instance, some
time in 2000, the MK director instructed funds to be deposited in AHF accounts in
Pakistan and from there transferred to other accounts.

e At least two former AHF employees who worked in Pakistan are suspected of having
al-Qaida ties. One AHF employee in Pakistan is detained at Guantanamo Bay on
suspicion of financing al-Qaida operations. Another former AHF employee in
Islamabad was identified as an alleged al- Qaida member who reportedly planned to
carry out several devastating terrorist operations in the United States. In January
2001, extremists with ties to individuals associated with a fugitive UBL lieutenant
were indirectly involved with a Pakistani branch of the AHF.
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e As of late 2002, a senior member of AHF in Pakistan, who has also been identified as
a "bin Laden facilitator,” reportedly operated a human smuggling ring to facilitate
travel of al-Qaida members and their families out of Afghanistan to various other

countries.
e AHF in Pakistan also supports the designated terrorist organization, Lashkar E-

Taibah (LET).

Background _ http://www.treas. gov/offices/enforcement/key-
issues/protecting/charities execorder_13224-a.shtml#ahpak

Before the removal of the Taliban from power in Afghanistan, the Al Haramain Islamic
Foundation in Pakistan (AHF-Pakistan) supported the Taliban and other groups. AHF-
Pakistan is also linked to the UBL-financed and designated terrorist organization,
Makhtab al-Khidemat (MK). At least two former AHF-Pakistan employees are suspected
of having al Qaida ties, and another AHF-Pakistan employee is suspected of financing al
Qaida operations. Another former AHF employee in Islamabad was identified as an
alleged al- Qaida member who reportedly planned to carry out several devastating
terrorist operations in the United States. In January 2001, extremists with ties to
individuals associated with a fugitive UBL lieutenant were indirectly involved with AHF-
Pakistan. As of late 2002, a senior member of AHF in Pakistan, who has also been
identified as a "bin Laden facilitator," reportedly operated a human smuggling ring to
facilitate travel of al Qaida members and their families out of Afghanistan to various
other countries. AHF in Pakistan also supports the designated terrorist organization,
Lashkar E-Taibah (LET). Some time in 2000, an AHF representative in Karachi, Pakistan
met with Zelinkhan Yandarbiev. The U.S. has designated Yandarbiev, and the UN 1267
Committee has included him on its list because of his connections to al Qaida. The AHF
representative and Yandarbiev reportedly resolved the issue of delivery to Chechnya of
Zenit missiles, sting anti-aircraft missiles, and hand-held anti-tank weapons.

Al Haramain Islamic Foundation — Somalia
March 11, 2002

Official announcement - http://www.treas.gov/press/releases/po1086.htm

Today we are blocking the accounts of the Somalia and Bosnia-Herzegovina
branches of the Saudi Arabia-based Al-Haramain Islamic Foundation. While the
Saudi headquarters for this private charitable entity is dedicated to promoting
Islamic teachings, we and our Saudi Arabian allies have determined that the
Somalia and Bosnia-Herzegovina branches of Al-Haramain have been engaged in
supporting terrorist activities and terrorist organizations such as al-Qaida, AIAI
(al-Itihaad al-Islamiya), and others.

Background _ http://www.treas. gov/offices/enforcement/key-
issues/protecting/charities execorder 13224-a.shtml#ahsom

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The Saudi-based Al Haramain Islamic Foundation is a private, charitable and
educational organization dedicated to promoting Islamic teachings throughout the
world. The Somalia office, however is linked to Usama bin Laden’s al Qaida
network and Al-Itihaad al-Islamiyya (AIAI), a Somali terrorist group (designated
under Executive Order 13224 on September 23, 2001). Al Haramain Somalia
employed AIAI members and provided them with salaries through al Barakaat
Bank (designated under Executive Order 13224 on November 7, 2001), which
was a primary source of terrorist funding. Al Haramain Somalia continued to
provide material and financial support for AIAI even after the group’s designation
under E.O. 13224 and UNSCR 1333. Money was funneled to AIAI by disguising
funds as if they were intended for orphanage projects or Islamic schools.

Al-Haramain Islamic Foundation — Comoros Islands/The Union of Comoros
September 9, 2004

Official Announcement — http://www.treas.gov/press/releases/is1895 htm

In addition [to the branch in the United States], the AHF branch located in the Union of
the Comoros was also designated today.

Al Haramain had operations throughout the Union of the Comoros, and information
shows that associates of AHF Comoros are linked to al Qaida. According to the transcript
of U.S. v. Bin Laden, the Union of the Comoros was used as a staging area and
exfiltration route for the perpetrators of the 1998 bombings of the U.S. embassies in
Kenya and Tanzania. The AHF branches in Kenya and Tanzania have been previously
designated for providing financial and other operational support to these terrorist attacks.

Al Haramain Islamic Foundation — United States
September 9, 2004

Official Announcement — http://www.treas. zov/press/releases/is1895 htm

The Treasury Department announced today the designation of the U.S. branch of the
Saudi Arabia-based Al Haramain Islamic Foundation (AHF), along with one of its
directors, Suliman Al-Buthe...

The assets of the U.S. AHF branch, which is headquartered in Oregon, were blocked
pending investigation on February 19, 2004. On the previous day, a federal search
warrant was executed against all property purchased on behalf of the U.S. AHF branch.
The investigation involved agents from the Internal Revenue Service — Criminal
Investigations (IRS-CD), the Federal Bureau of Investigation (FBI) and the Department of
Homeland Security's Immigration and Customs Enforcement (ICE).

The investigation shows direct links between the U.S. branch and Usama bin Laden. In
addition, the affidavit alleges the U.S. branch of AHF criminally violated tax laws and
engaged in other money laundering offenses. Information shows that individuals
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associated with the branch tried to conceal the movement of funds intended for Chechnya
by omitting them from tax returns and mischaracterizing their use, which they claimed
was for the purchase of a prayer house in Springfield, Missouri.

Other information available to the U.S. shows that funds that were donated to AHF with
the intention of supporting Chechen refugees were diverted to support mujahideen, as
well as Chechen leaders affiliated with the al Qaida network.

Background — http://www.treas. gov/offices/enforcement/key-
issues/protecting/charities execorder 13224-a.shtml#ahus

The U.S.-based branch of AHF was formally established in 1997. Documents naming
Suliman Al-Buthe as the organization's attorney and providing him with broad legal
authority were signed by Agqeel Abdul Aziz Al-Aqil, the former director of AHF. Aqil
has been designated by the United States and the UN 1267 Sanctions Committee because
of AHF's support for al Qaida while under his oversight, and Al-Buthe has also been
designated by the United States and the UN 1267 Sanctions Committee. The assets of the
U.S. AHF branch, which is headquartered in Oregon, were originally blocked pending
investigation on February 19, 2004. An affidavit in support of a search warrant by other
federal agencies also alleged that the U.S. branch of AHF criminally violated tax laws
and engaged in other money laundering offenses. Information showed that individuals
associated with the branch tried to conceal the movement of funds intended for Chechnya
by omitting them from tax returns and mischaracterizing their use, which they claimed
was for the purchase of a prayer house in Springfield, Missouri. The U.S.-based branch of
AHF was fully designated under E.O. 13224 on September 9, 2004, and under UNSCR
1267 on September 28, 2004.
Muhammad bin Jamil Zino
Translated by:
Ibrahim M. Kunna

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Jihad and Bravery 108

Jihad and Bravery

1. To learn about Jihad (fighting in the way of Allah) the
family can sit together to read a biography of the Prophet
(py tale ai te and those of his Companions. Such a book will
make it clear that the Prophet of mercy was also a brave
fighter in the way of Allah. His Companions like Abu
Bakr, Umar, Uthmdan, Ali, Mu‘awiyah and the others a,
pws were all courageous fighters who fought to uphold the
Word of Allah higher. It is they who took Islam to various
countries and were instrumental to our being Muslims.
They conquered their disbelieving enemies with their faith
in Allah and.Allah’s eventual victory and support for
them. They succeeded because they applied the Qur’an and
the Sunnah and their manners were superior.

2. Encourage your children to grow as brave as the Prophet
plwy «le alli to and his Companions. Teach them to command
the good, forbid the evil and fear Allah alone. Do not
intimidate your children with false stories or superstitions

or goggle.

3. Teach your children the love of justice and revenge
from___the unjust like the Jews and the tyrants.
be Consequently our youth would know that Palestine
should be freed and Jerusalem must be of the Muslims.
They have to learn about Islam and Jihdd as per the
Qur’4n and that the holy fighting for justice is |
supported by Allah the Almighty. Victory is yours if
you consult the Qur’4n and apply its commands.

4. Buy some useful story books for your children: stories
from the Qur’an, the Prophet’s biographies, and stories of
the brave Companions and Muslim heroes.

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Jihad (Fighting in the cause of Allah) 130

Jihad
(Fighting in the cause of Allah)

Jihad is obligatory on every Muslim in two ways: by .

spending one’s wealth or offering oneself for fighting in the

gause_of Allah. It can also be by preaching or defending
Islam through tongue and pen. Reward varies for various

types of Jihad.
1. Jihad as an Individual Duty:

This type of Jihad becomes a must when the enemy of
Muslims enters their land, like the Jews who settled in
Palestine. Every Muslim will be guilty unless he expels the
Jews by money or physical fighting.

2. Jihad as a Collective Duty:

This type is the one if some people do it, it suffices and no
need for all to perform. For example, propagation of Islam or
call to Islam until all countries embrace it and make it their
way of life. If someone makes any obstacle in the way of
propagation, Muslims are allowed by Allah to fight them
until Islam becomes the governing authority. Jihdd in this
sense will not stop until the Day of Judgement.

When Muslims took to farming and trading, they became
subdued. The Prophet pu, ute ui to Said:

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Case 6:05-cr-60008-AA Document 28-4 Filed 08/21/07 Page 13 of 14

Jihad (Fighting in the cause of Allah) 133

4, Jihad against Disbelievers and Communists:

The Jihdd against the disbelievers, communists and the
ageressors from Jewish-Christian nations can be either by
spending on Jihad or by participating in it in person. The
Prophet 1. we wi to Said:

(pSsedly pRenily SIAL GS All ate y
“Perform Jihad against polytheists by wealth, body and .
tongue.” (Ahmad).

5. Jihéd against Wrongdoers :

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« Oley! Cal EUS cali abet j

“Whoever sees a vice should stop it by hand, if
possible, or by tongue or (he should hate it) in heart —
this is the lowest (act) of Faith.” (Muslim).

6. Jihad against the Satan:

This type means that one should disobey the Satan and obey
Allah. You can” also abandon heeding to the Satan’s
temptations. Allah the Exalted says:

reg ve we “gap dA Te Bae tyr ons
Ay BS BE ea Gy | ic nel 520 SO GLC Gy &

“Surely Satan is an enemy to you; so treat him as an
enemy. He only invites his followers that they may
become the dwellers of the blazing Fire.” (35:6)

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Act upon these Ahadith 167

Act upon these Ahadith

((OzaLll giis 3 gto pL pus oe EL Agr yy
1. “The Last Hour will not appear unless the Muslims fight
the Jews and kil them” (Mustim).

CAS md HB UN oe al IS OSS OP By
2. “Who fights to uphold the Word of Allah is the one who
really fights in the cause of Allah”. (Bukhari).

(AES Sf abl AS aU bey GA Softy oy

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3. “Whoever seeks the pleasure of people and not of Allah
Allah will leave him to the people.” (Tirmidhi).

?

(Cat od 5 al 99 ce EU GAY OU ay
4. “Who dies while associating a partner with Al[gp will
enter Hell.” (Bukhari).

5. “Whoever conceals knowledge, Allah will puta bridle of
fire on him (on the Day of Reckoning).” (Ahmad),

« Aad y ge pou 3 oy ue Luis wep Ga oy <4

6. “Whoever plays dice is like the one who dipped his hand
in the flesh and blood of a swine.” (Muslim).

(USA Caski Ly US ee oe ee EY yy ~y

7. “Islam appeared as a stranger, and it will retum ag
stranger. Then blessed are the strangers!” (Muslim).
